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/                                                                                       [rO[b~[Q')
                                  IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF KANSAS                          MAY 25 2021
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     Tul ::\'.b lx,r:\cn ~ . {: 1dch l;" s~ h;-           )
                                                          )
                                                          )
     (Enter above the full name of the Plaintiff(s)       )

     vs. )(G_i'\S<J..~ ~-4---J; .Q.orre .... h 0 t,..s <..;::-~_) ~      Case Number- - - - - - - -
      'vo...t"blc D1v1-;;1oi'\. . t                               )
          Jt.,rok   0~~1c.ev-     -:fo.c.c.½ (nyder                  )
     Name                                                            )
      1.20 sw i oM:-- k,VJ__            ,;2,-...)o f Ir-             )
     Street and number                                               )
          'TDpa k(t            lCs.       ~~~IL-                     )
     City                       State                  ZipCode )

     (Enter above the full name and address of the
     Defendant in this action - list the name and
     address of any additional defendants on the back
     side of this sheet).
                                           CIVIL COMPLAINT

     I.        Parties to this civil action:

               (In item A below, place your name in the first blank and place your present address in the
               second blank. Do the same for additional plaintiffs, if any, on the back side of this sheet).

               A.      Name of plaintiff          ·, OYV\..cfu       B \'.=\ c.lc~
                       Address ~ I Y ~
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                           ~B~ L{          9-:"




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r           (In item B below, write the full name of the defendant in the first blank. In the second
            blank, write the official position of the defendant. Use item C for the names and positions

)           of any additional defendants).

            B.      Defendant     t..Clf\$l\.S    ~?.\- c.:S C..Ccre.s.._n~ Ri--.-,~\ C:                l:), v l$l .ts,,,..

                    employed at      \<-=-DOC..., .


            C.      Additional Defendants        \ a...rc.) \c   6<;..r, \C.. c: v 3 c co'o Sn 'I c.l e.r
                            bi~ ~ ~-e~<.~                            (      I?" (~'.),'\UJ ~ lll ~Cl h \

    II.     Jurisdiction:

            (Complete one or more of the following subparagraphs, A., B.1, B.2., or B.3., whichever is
            applicable.)

            A. (If Applicable) Diversity of citizenship and amount:
                    1.      Plaintiff is a citizen of the State of    C..:::..\ 0 ( __,_,J. \J
                    2.      The first-named defendant above is either           K.~\I\SQS

                                    a. a citizen of the State of         ~~u                     ; or
                                    b. a corporation incorporated under the laws of the State of
                                         K:-,V)SG\ s               and having its principal place of business
                                         in a State other than the State of which plaintiff is a citizen.


                    3. The second-named defendant above is either
                                    a.       a citizen of the State of       Kc.1.i\.<;CLS        ; or
                                    b.       a corporation incorporated under the laws of the State of
                                                          and having its principal place of business in a
                                    State other than the State of which plaintiff is a citizen.


                    (If there are more than two defendants, set forth the foregoing information for each
                    additional defendant on a separate page and attach it to this complaint.)
                    Plaintiff states that the matter in controversy exceeds, exclusive of interest and
                    costs, the sum of seventy-five thousand dollars ($75 ,000.00).


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       VIII.   Administrative Procedures:

               A.     Have the claims which you make in this civil action been presented through
               any type of Administrative Procedure within any government agency?
               Yesl I! No ~

               B.     If you answered yes, give the date your claims were presented,
               how they were presented, and the result of that procedure:




               C.      If you answered no, give the reasons, if any, why the claims made in this
               action have not been presented through Administrative Procedures:




IX.    Related Litigation:

       Please mark the statement that pertains to this case:

                      This cause, or a substantially equivalent complaint, was previously filed in
                      this comt as case number _ _ _ _ _ _ _ and assigned to the Honorable
                      Judge _ _ _ _ _ _ _ _ _ _ __

                      Neither this cause, nor a substantially equivalent complaint, previously has
                      been filed in this court, and therefore this case may be opened as an original
                      proceeding.


                                                     Signature of Plaintiff

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                                                     Address
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                                                      City           State       Zip Code


                                                      Telephone Number


                              DESIGNATION OF PLACE OF TRIAL

Plaintiff designates    __J Wichita      [Kansas Cit or      _I To eka , Kansas as the
                                            (Select One)
location for the trial in this matter.

                                                      ~lAhd
                                                      Signature of Plaintiff
                                                                                 ·3:wl
                                 REQUEST FOR TRIAL BY JURY




                                                     d(iL).-i:LAc§.'Me~
                                                      Signature of Plaintiff

Dated : ? ·-~   'i - ,)0 l ~
 (Rev. 10/15)




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